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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 IN RE:
                                                   Case No. 19-40763
 AL RAHUM ENTERPRISES, LLC                         Chapter 7

                               Debtor

                      TRUSTEE’S OBJECTION TO THE CLAIM OF
                      GORDON FOOD SERVICE INC., CLAIM NO. 11

ATTENTION: YOUR CLAIM MAY BE REDUCED, MODIFIED, OR ELIMINATED. ACCORDINGLY, YOU
SHOULD READ THIS PLEADING CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS
BANKRUPTCY CASE. IF YOU DO NOT WISH FOR THE COURT TO ELIMINATE OR CHANGE YOUR CLAIM, YOU MUST
FILE A WRITTEN RESPONSE OPPOSING THE CLAIM OBJECTION, EXPLAINING THE FACTUAL AND/OR LEGAL BASIS
FOR THAT RESPONSE.

NO HEARING WILL BE CONDUCTED ON THIS CLAIM OBJECTION UNLESS A WRITTEN RESPONSE IN OPPOSITION IS
FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS
PLEADING WITHIN THIRTY (30) DAYS FROM THE DATE OF SERVICE LISTED IN THE CERTIFICATE OF
SERVICE UNLESS THE COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH RESPONSE. IF NO RESPONSE IN
OPPOSITION IS TIMELY SERVED AND FILED, THIS CLAIM OBJECTION SHALL BE DEEMED TO BE UNOPPOSED, AND THE
COURT MAY ENTER AN ORDER SUSTAINING THE OBJECTION TO YOUR CLAIM. IF A RESPONSE IN OPPOSITION IS
FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL THEREAFTER SET A HEARING WITH APPROPRIATE
NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR RESPONSE IN OPPOSITION MAY BE STRICKEN. THE COURT
RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.


        COMES NOW, Mark A. Weisbart, the Chapter 7 Trustee of the bankruptcy estate of Al

Rahum Enterprises, LLC (the “Trustee”) and files this Objection to the Claim of Gordon Food

Service Inc., Claim No. 11 and in support hereof, would show the court as follows:

                                          JURISDICTION

        1.      This Court has jurisdiction to consider this objection under 28 U.S.C. §§ 157 and

1333. This matter involves a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (B). Venue

is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The relief requested in this

objection is authorized under Section 502 of Title 11 of the United States Code (the “Bankruptcy

Code”).




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                           PROCEDURAL AND FACTUAL BACKGROUND

        2.      On March 22, 2019 (the “Petition Date”), Al Rahum Enterprises, LLC (the

“Debtor”) filed a voluntary petition under Chapter 7 of Title 11 of the Bankruptcy Code in this

Court commencing the above-referenced bankruptcy case.

        3.      Thereafter, the Trustee was appointed the interim Chapter 7 trustee for the Debtor’s

bankruptcy estate, and has since remained in his capacity as the Chapter 7 trustee in accordance

with 11 U.S.C. § 702.

        4.      On July 19, 2019, Gordon Food Service Inc. (“Claimant”), filed a proof of claim

asserting an administrative priority claim in the amount of $8,817.21 and an unsecured claim in

the amount of $180.00 which claim was denoted on the Claims Register as Claim No. 11 (the

“Claim”). A true and correct copy of the Claim is attached hereto as Exhibit “A”.

                                             OBJECTION

        5.      Trustee objects to the Claim to the extent it is asserted as an administrative priority

claim. No legitimate basis has been provided for priority status. Claimant references 11 U.S.C. §

507(a)(2) as a basis for priority treatment but that Section relates to 11 U.S.C. § 503(b)

administrative claims.

        6.      Trustee objects to the Claim to the extent it is asserted as a 11 U.S.C. § 503(b)

administrative claim. No application for an administrative claim has been filed in accordance with

applicable law. The Claim does not contain sufficient information or documentation supporting a

11 U.S.C. § 503(b)(9) claim.

        7.      Trustee has no objection to allowance of the Claim solely as a non-priority general

unsecured claim in the amount of $8,997.21 for purposes of the administration of this case by the

Trustee, including the distribution of funds to Claimant following approval of the Trustee’s Final




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Report.

                                              PRAYER

          WHEREFORE, PREMISES CONSIDERED, Trustee prays that the Court enter an order

allowing the Claim as a non-priority general unsecured claim in the amount of $8,997.21 and

granting him such other and further relief to which he is justly entitled.

                                              Respectfully Submitted,

                                              /s/ Mark A Weisbart
                                              Mark A Weisbart
                                              Texas Bar No. 21102650
                                              HAYWARD PLLC
                                              10501 N Central Expy, Suite 106
                                              Dallas, Texas 75231-2203
                                              (972) 755-7103 Phone
                                              MWeisbart@haywardfirm.com

                                              COUNSEL FOR CHAPTER 7 TRUSTEE


           TRUSTEE’S DECLARATION UNDER LOCAL BANKRUPTCY RULE 3007(a)(2)
       I, Mark A. Weisbart, the Chapter 7 Trustee, hereby declare under penalty of perjury that I
have read the foregoing Objection to the Proof of Claim and that the factual allegations made in
such Objection are true and correct to the best of my knowledge, information and belief.

 Date: March 16, 2022                           /s/ Mark A Weisbart
                                                Mark A Weisbart


                                      CERTIFICATE OF SERVICE
        The undersigned hereby certifies that a copy of the foregoing instrument was served on the
below party as well as the parties listed on the attached mailing list in accordance with LBR 9013(f)
either through the Court’s electronic notification system as permitted by Appendix 5005 III. E. to
the Local Rules of the U.S. Bankruptcy Court for the Eastern District of Texas, or by first class
United States Mail, postage prepaid on this the 16th day of March 2022.

 Gordon Food Service Inc                            Gordon Food Service Inc
 c/o Jason M. Torf                                  PO Box 2244
 200 W Madison Street, Suite 3500                   Grand Rapids, MI 49501
 Chicago, IL 60606
                                                      /s/ Mark A Weisbart
                                                      Mark A Weisbart



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Label Matrix for local noticing                        Al Rahum Enterprises, LLC
                                                          Document           Page 10 of 10                  Ryan C. Gentry
0540-4                                                 2002 Candlewyck Crossing                             Nowak & Stauch, LLP
Case 19-40763                                          Allen, TX 75013-5604                                 10000 N. Central Expy., Ste. 1040
Eastern District of Texas                                                                                   Dallas, TX 75231-2322
Sherman
Wed Mar 16 11:16:20 CDT 2022
Eric A Liepins                                         Shelley A. Marmon                                    Linda Reece
Eric A. Liepins, P.C.                                  2727 Allen Parkway, Ste. 1700                        Perdue Brandon Fielder Collins & Mott LL
12770 Coit Road                                        Houston, TX 77019-2125                               1919 S. Shiloh Road
Suite 850                                                                                                   Suite 640, LB 40
Dallas, TX 75251-1364                                                                                       Garland, TX 75042-8234

Thomas Richard Stauch                                  US Trustee                                           John M. Vardeman
Nowak & Stauch, LLP                                    Office of the U.S. Trustee                           UST Office
10000 North Central Expressway                         110 N. College Ave.                                  110 N. College St., Suite 300
Suite 1040                                             Suite 300                                            Tyler, TX 75702-7231
Dallas, TX 75231-2322                                  Tyler, TX 75702-7231

(p)MARK A WEISBART
ATTN THE LAW OFFICE OF MARK A WEISBART
10501 N CENTRAL EXPY SUITE 106
DALLAS TX 75231-2203




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Mark A.   Weisbart                                     (d)Mark   A. Weisbart                                End of Label Matrix
Chapter   7 Bankruptcy Trustee                         Hayward   PLLC                                       Mailable recipients    9
10501 N   Central Expy Suite 106                       10501 N   Central Expy Suite 106                     Bypassed recipients    0
Dallas,   TX 75231-2203                                Dallas,   TX 75231-2203                              Total                  9
